Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 1 of 6




               EXHIBIT CC
Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 2 of 6
Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 3 of 6
Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 4 of 6
Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 5 of 6
Case 1:19-cr-10080-NMG Document 972-29 Filed 03/25/20 Page 6 of 6
